Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 1 of 22




                 EXHIBIT 2
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 2 of 22
                                                                                                                      Certified Translation MC-2018-91
                                                                                                                                            Page 1 of 21

                                                      GOVERNMENT	OF	PUERTO	RICO	
                                         OFFICE	OF	THE	COMMISSIONER	OF	FINANCIAL	INSTITUTIONS	
                                                         SAN	JUAN,	PUERTO	RICO	
             	
                 	                                               	
                 IN	RE:	                                         CASE	NUMBER:	C18-D-001	
                 MINT	BANK	INTERNATIONAL,	LLC	                   				RE:	Application	for	Permit	to		
                 	                                               Organize	an	International	Financial	Entity	
                                                          	
                                                               	
                                             FINAL	RESOLUTION	IN	RECONSIDERATION	
                                                               	
                    I.   LEGAL	GROUNDS	AND	JURISDICTION:	
             	
             	           This	Resolution	is	issued	by	virtue	of	the	power	conferred	to	the	Office	of	the	Commissioner	of	Financial	

             Institutions	(OCIF	[Spanish acronym])	in	Act	No.	4	of	October	11,	1985,	as	amended,	Act	No.	273	of	September	25,	

             2012,	known	as	the	“International	Financial	Center	Regulating	Act”	(Act	273-2012),	Regulation	No.	5653	of	July	23,	

             1997	(Regulation	5653)	issued	by	OCIF	and	in	accordance	to	a	Act	No.	52	of	August	11,	1989,	as	amended	(Act	52),	

             known	 as	 the	 “International	 Banking	 Center	 Regulatory	 Act”1,	 Regulation	 3920	 of	 June	 23,	 1989,	 known	 as	

             Regulation	 to	 Regulate	 Adjudication	 Proceedings	 under	 the	 Jurisdiction	 of	 the	 Office	 of	 the	 Commissioner	 of	

             Financial	Institutions”,	as	amended	and	in	accordance	to	Act	No.	38	of	June	30,	2017,	as	amended,	known	as	the	

             “Uniform	Administrative	Procedure	Act”.	
[Initials]
             II.	        FINDINGS	OF	FACTS:	

             	           1.	       On	May	19,	2017,	Ms.	Amarily	Maldonado	of	the	firm	BDO	of	Puerto	Rico,	P.S.C.	(BDO)	filed,	

             on	 behalf	 of	 the	 corporation	 Mint	 Bank	 International,	 L.L.C.	 (Mint),	 a	 Permit	 Application	 to	 Organize	 an	

             International	Financial	Entity	(Application)	pursuant	to	the	provisions	of	Act	273-2012.	

             	           2.	       The	Application	was	attached	to	a	letter	of	representation	signed	by	Mr.	Miguel	Carbonell	of	

             the	law	firm	Adsuar,	Muñiz,	Goyco,	Seda	&	Pérez	Ochoa,	P.S.C.,	dated	May	3,	2017	(Letter),	a	Sworn	Statement	

             from	Guy	Gentile	Nigro	(Gentile)	naming	BDO	Puerto	Rico,	PSE,	as	the	authorized	representative	of	Mint,	and	a	

             Statement	of	the	Personal	History	of	Gentile	duly	sworn	(Statement	of	History).	

             	           3.		      In	the	letter,	Gentile	is	identified	as	initial	administrating	member	and	director	of	Mint	and	

             informs	that	he	is	engaged	in	providing	services	as	securities	broker-dealer	and	investment	advisor,	among	other	

             things.		No	other	member,	director	or	partner	of	Mint	appears	from	the	Application	or	documents.	

             	           4.	       As	part	of	the	letter,	it	is	provided	that	Mint,	as	international	financial	entity	(IFE),	intends	to:	

             (i)	 Accept	 deposits,	 from	 foreign	 persons	 in	 checking	 account	 as	 well	 as	 well	 as	 on	 demand	 or	 fixed		

             	




             1
               	Article	27	of	Act	No.	273-2012	sets	forth,	as	relevant	herein,	that	regulations	approved	under	Act	52	shall	apply	to	the	
             organization	and	governance	of	IFEs.	
             	
             	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 3 of 22
                                                                                                                         Certified Translation MC-2018-91
                                                                                                                                               Page 2 of 21

             term,	including	deposits	on	demand	and	deposits	of	funds	between	banks	or	in	any	other	way	taking	money	on	

             loan	 from	 international	 financial	 entities,	 and	 from	 any	 foreign	 person	 in	 accordance	 to	 the	 Regulations	 of	 the	

             Commissioner;	(ii)	Make	or	perform	deposits	in	or	otherwise	give	money	on	loan	to	the	Government	Development	

             Bank	for	Puerto	Rico,	to	the	Economic	Development	Bank	for	Puerto	Rico,	to	any	international	financial	entity,	or	

             to	any	bank,	including	banks	organized	under	the	laws	of	Puerto	Rico	and	branches	in	Puerto	Rico	of	banks	that	

             are	foreign	persons;	(iii)	Perform	any	of	the	banking	transactions	allowed	by	the	Law	in	the	currency	of	any	country	

             or	in	gold	or	silver,	and	to	participate	in	foreign	currency	trade;	(iv)	Underwrite,	distribute	or	otherwise	deal	in	

             securities,	notes,	instruments	of	debt,	drafts,	and	letters	of	change	issued	by	foreign	persons	for	final	purchase	

             outside	of	Puerto	Rico;	(v)	Engage	in	any	activity	outside	of	Puerto	Rico	of	a	financial	nature	that	is	allowed	to	be	

             performed,	directly	or	indirectly,	by	a	banking	stock	holding	company	or	foreign	office	or	subsidiary	of	a	bank	of	

             the	United	States	under	the	applicable	law	of	the	United	States;	(vi)	Buy	and	sell	securities	outside	of	Puerto	Rico,	

             to	 the	 order	 of,	 or	 to	 its	 discretion,	 for	 foreign	 persons	 and	 to	 provide	investment	 advice	 with	 regards	 to	 said	

             transactions	or	separate	from	them,	to	said	persons;	(vii)	Act	as	a	bank	or	clearinghouse	with	regards	to	financial	

             instruments	or	agreements	of	foreign	persons,	as	authorized	by	the	regulation	adopted	by	the	Commissioner;	(viii)	

[Initials]   perform	such	other	activities	that	are	expressly	authorized	by	the	regulations	or	order	of	the	Commissioner	and	

             that	are	incidental	to	the	execution	of	the	services	authorized	by	this	Act	and	the	Regulations	of	the	Commissioner,	

             except	activities	expressly	prohibited	by	the	law;	and	(ix)	With	prior	authorization	of	the	Commissioner,	provide	to	

             other	international	financial	entities	or	to	foreign	persons	outside	of	Puerto	Rico,	such	services	of	a	financial	nature	

             as	they	are	defined	and	generally	accepted	in	the	banking	industry	of	the	United	States	and	Puerto	Rico	and	that	

             are	not	numbered	in	Article	12	(a)	of	the	Law.	

             	          5.	         In	the	official	form	of	OCIF,	titled	Permit	Application	to	Organize	an	International	Financial	

             Entity,	the	applicant	is	advised,	as	in	this	case,	that	the	document	is	an	official	one,	and	that	any	misrepresentation	

             or	failing	to	set	forth	the	information	required	by	the	Commissioner	of	Financial	Institutions	may	be	sufficient	cause	

             to	deny	or	revoke	the	permit	or	license	requested.	Further,	the	applicant	is	advised	that	the	application	to	establish	

             and	 IFE	 is	 divided	 in	 two	 stages,	 1)	 Permit	 to	 organize	 once	 OCIF	 receives	 and	 reviews	 to	 its	 satisfaction,	 the	

             documents	and	required	information;	and	2),	Granting	of	a	license	once	OCIF	receives	and	reviews	to	its	satisfaction	

             the	required	documents.	In	accordance	to	the	Sworn	Statement	that	forms	part	of	the	Application.		Gentile	swore	

             that	all	information	provided	in	the	application	is	correct,	true	and	complete.	                                                      	




                                                                                                                                              2	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 4 of 22
                                                                                                                    Certified Translation MC-2018-91
                                                                                                                                          Page 3 of 21

             	          6.	        In	the	official	document,	titled	Statement	of	Personal	History	sworn	by	Gentile,	it	is	set	forth	

             that	Gentile	shall	be	the	owner	of	100%	of	Mint.	Further,	he	answered	in	the	affirmative	that	some	time	he	had	

             been	arrested,	detained,	accused,	convicted	of	some	crime	or	summoned	to	appear	for	any	fraudulent	act	to	be	

             liable	for	any	offense	or	violation	of	any	nature.	See	item	5,	B,	2	of	the	Statement	of	Personal	History.	

             	          7.	        In	turn,	the	question	included	in	item	5,	B,	4	of	the	Statement	of	Personal	History	requires	to	

             answer	 whether	 a	 competent	 court	 or	 government	 entity	 of	 any	 country	 has	 prohibited	 you	 permanently,	 or	

             temporarily,	from	participating	or	continuing	any	conduct	or	practice	related	to	any	business.	The	answer	to	this	

             question	was	negative.	

             	          8.	        The	Statement	of	Personal	History	further	advises	that	if	the	applicant	answers	any	question	

             in	part	8	in	the	affirmative,	they	must	add	the	detailed	information	in	a	separate	document	and	that	if	any	event	

             occurs	that	would	cause	an	affirmative	answer,	to	immediately	notify	it	to	the	Commissioner.	In	accordance	to	

             them,	Mister	Gentile	indicated	that	he	had	been	arrested	on	July	13,	2012	and	accused	of	securities	fraud	with	

             regards	to	a	“pump	and	dump”2	that	allegedly	started	early	April	2007	and	culminated	approximately	in	June	2008.	

             Mr.	Gentile	indicated	that	after	being	arrested,	he	had	acted	as	informant	for	the	United	States	Government.	He	

[Initials]   testified	 that	 despite	 having	 been	 an	 informant,	 he	 was	 accused	 on	 March	 23,	 2016,	 and	 that	 after	 several	

             procedural	incidents,	the	charges	were	dismissed.		His	statement	ended	indicating	that	he	has	always	been	an	

             exemplary	citizen	and	respectful	of	the	law,	as	well	as	a	successful	entrepreneur.	No	other	information	as	to	that	

             regards	appears.	

             	          9.	        On	May	26,	2017,	BDO	filed	a	request	to	amend	the	documentation	presented	and	it	added	a	

             financial	statement	of	Gentile	and	a	negative	criminal	background	check	from	the	state	of	Florida,	where	Gentile	

             indicated	he	is	living	at	the	time	of	applying	for	the	permit.	

             	          10.	       On	June	1,	2017	Mint	remitted	to	OCIF	the	payment	of	the	non-reimbursable	$5,000	charge	

             to	defray	the	cost	of	the	initial	investigation.	

             	          11.	       As	 part	 of	 the	 process	 to	 consider	 the	 Application,	 OCIF	 investigates	 the	 history	 and	

             professional	background	of	all	persons,	applicants,	directors	and	officers,	or	persons	who	intend	to	act	in	a	capacity	

             similar	to	the	proposed	international	financial	entity.	Upon	receipt	of	the	Sworn	application,	of	the		

             	                                            	




             2
              	In	the	“pump	and	dump”,	the	promoters	attempt	to	increase	the	price	of	stock	with	false	or	misleading	statements	about	
             the	company.	Once	the	price	of	the	stocks	has	been	raised,	the	swindlers	seek	to	obtain	profit	selling	their	own	holdings	
             in	the	over-evaluated	stocks	and	once	sold,	the	price	falls	and	the	investors	lose	their	money.	See	publication	made	by	
             the	 “United	 States	 Securities	 and	 Exchange	 Commission	 commonly	 known	 as	 the	 “SEC”	 by	 its	 English	 acronym)	 in	
             https://www.investor.gov/protect	your-investments/fraud/types-fraud/pump-dump-schemes.	
                                                                                                                                        3	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 5 of 22
                                                                                                                      Certified Translation MC-2018-91
                                                                                                                                            Page 4 of 21

             documents	 and	 of	 the	 application	 charge	 presented	 by	 Mint,	 in	 accordance	 to	 our	 duty,	 OCIF	 performed	 the	

             investigation	 regarding	 the	 applicant,	 including	 a	 review	 of	 financial	 solvency,	 credit,	 banking	 experience	 and	

             commercial	integrity	of	Mint	and	of	Gentile	as	only	director	or	officer	thereof.	

             	             12.	       On	June	12,	2017,	OCIF	performed	a	search	on	the	PACER	system	[acronym	for	“Public	Access	

             to	Court	Electronic	Records”)3		Said	search	confirmed	that	on	March	23,	2016,	the	United	States	Department	of	

             Justice	had	filed	criminal	charges	against	Gentile	for	conspiracy	to	commit	securities	fraud.	In	such	case,	under	

             numbers	16-cr-155	and	16-cr-155	(II),	the	United	States	District	Attorney's	Office	for	the	District	of	New	Jersey	filed	

             a	 complaint	 under	 seal	 against	 Gentile	 for	 alleged	 acts	 of	 corruption	 to	 commit	 electronic	 fraud	 and	 for	

             participating	in	“pump	and	dump”	schemes	that	he	was	charged	with	in	connection	with	his	actions	in	the	schemes	

             involving	Kentucky	Energy,	Inc.	(KYUS)	and	Raven	Gold	Corporation	(RVNG)	occurred	early	April	2017	and	ending	

             June	2008,	as	Gentile	informed	in	his	application.	

             13.		         As	part	of	the	investigation,	OCIF	obtained	a	document	titled	“Affidavit	of	Guy	Gentile	in	support	of	his	

             motion	to	dismiss”	sworn	by	Mister	Gentile	on	July	14,	2016	for	criminal	case	number	16-155.	In	it,	Gentile	stated	

             under	oath,	in	synthesis,	that:	

[Initials]                 a.        That	he	was	arrested	on	July	13,	2012	by	the	Customs	and	Border	Patrol	and	delivered	to	the	
                                     FBI	
                           b.        That	the	FBI	requested	his	cooperation	and	he	requested,	in	exchange,	to	have	the	charges	
                                     witdrawn.	
                           c.        That	he	agreed	to	cooperate	according	to	a	Verbal	Cooperation	Agreement.	
                           d.        That	 he	 participated	 as	 informant	 in	 several	 schemes	 that	 entailed	 the	 arrest	 of	 several	
                                     persons.	
                                     	
             14.	          According	to	the	“Memorandum	of	Law	in	Opposition	to	Defendant	Guy	Gentile's	Motion	to	Dismiss	the	

             Indictment”	 of	 September	 23,	 2016,	 it	 is	 established	 that	 Gentile	 orchestrated	 a	 multi-annual	 securities	 fraud	

             scheme	with	which	he	benefited	financially	at	the	expense	of	thousands	of	investors.	It	indicates	that	his	criminal	

             conduct	consisted	in	sophisticated	operations	designed	to	manipulate	the	market	and	deceive	investors	of	two	

             multimillion-dollar	companies.	It	alleged	that	“[w]hat	made	Gentile	such	an	accomplished	criminal	explains	why	

             he	was	such	a	valuable	cooperator-he	was	deeply	enmeshed	in	the	world	stock	market	manipulation”.	It	continues	

             indicating	that:	

                           In	2007	and	2008,	Gentile	and	his	co-conspirators	engaged	in	an	extensive	pump-and-dump	stock	
                           manipulation	 scheme	 involving	 two	 publicly	 traded	 companies,	 Raven	 Gold	 Corporation	 and	
                           Kentucky	USA,	Inc.	(the	“Target	Companies”.	As	part	of	the	scheme,	the	conspirators	first	obtained	
                           control	over	large	blocks	of	the	free-trading	shares	of	the	Target	Companies,	then	“pumped”	the	
                           price	of	those	shares	by,	among	other	things:	(i)	engaging	in	manipulative	trading	of	the	stocks	of	
                           the	Target	Companies,	and	(ii)	disseminating	misleading	promotional	materials	touting	the	stocks	
                           and	encouraging	others	to	purchase	them.	
                           	

             	


             3
                 PACER	is	a	public	access	electronic	service	of	documents	filed	in	the	United	States	federal	court	system.		
                                                                                                                                         4	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 6 of 22
                                                                                                                        Certified Translation MC-2018-91
                                                                                                                                              Page 5 of 21

                      Gentile	played	a	hands-on,	high	level	role	in	this	scheme	and	was	not	merely	a	passive	participant.	Indeed,	
                      Gentile	controlled	virtually	all	of	the	manipulative	trading	in	the	KYUS	manipulation,	was	deeply	involved	in	
                      the	 promotional	 mailers	 that	 were	 at	 the	 center	 of	 the	 fraud,	 and	 was	 responsible	 for	 collecting	 and	
                      distributing	millions	of	dollars	in	illicit	proceeds	generated	by	the	scheme.	
                      ...On	June	25,	2012,	Gentile	was	charged	in	a	sealed	criminal	complaint	with	conspiracy	 to	 commit	 wire	
                      fraud,	in	violation	of	Title	18,	United	States	Code,	Section	1349.	On	Friday,	July	13,2012,	FBI	agents	arrested	
                      Gentile.	Gentile	quickly	expressed	interest	in	cooperating	with	law	enforcement...	
                      During	those	meetings,	Gentile	admitted	his	involvement	in	the	pump-and-dump	scheme	 and	 identified	
                      numerous	others	involved	in	similar	securities	fraud	schemes.	He	claimed	to	have	relationships	with	those	
                      individuals,	and	offered	to	engage	in	proactive	cooperation	against	some	of	them.	The	following	Monday,	
                      July	 16,	 2012,	 the	 Government	 submitted	 an	 application	 to	 the	 Court	 to	 dismiss	 without	 prejudice	 the	
                      complaint	against	Gentile	(which	had	not	yet	been	made	publicly	available).	That	day,	the	Court	entered	an	
                      order	dismissing	the	complaint	without	prejudice.	The	purpose	of	dismissing	the	complaint	was	to	preserve	
                      cooperation	opportunities	that	Gentile	presented	over	the	weekend.	
                      After	the	complaint	was	dismissed,	the	parties	took	various	steps	to	facilitate	Gentile's	cooperation	while	
                      protecting	his	interest	and	the	Government's.	For	instance,	because	he	was	not	subject	to	the	supervision	
                      of	the	Court	of	Pretrial	Services,	the	Government	sought	limited,	reasonable	assurances	that	he	would	not	
                      flee.	Gentile	had	a	fully	operational	broker-dealer	in	the	Bahamas	and	was	opening	a	sushi	restaturant	there.	
                      He	also	claimed	to	be	seeking	permanent	residency	in	the	Bahamas.	Gentile	had	family	in	Jamaica	and	Italy,	
                      was	a	dual	citizen	of	the	United	States	and	Italy,	and	had	multiple	passports...Gentile	also	agreed	to	turn	
                      over	his	passports	to	his	attorneys	and	refrain	from	traveling	internationally	without	the	Government's	
                      consent.	
                      Moreover,	to	preserve	the	government's	ability	to	prosecute	Gentile	in	the	future,	Gentile	signed	a	waiver	
                      tolling	 “any	 statute	 of	 limitations”	 relation	 to	 the	 wire	 fraud	 and	 securities	 fraud	 statutes	 and	 related	
                      regulations...	

[Initials]            …	
                      As	 Gentile	 has	 conceded,	 during	 this	 time,	 the	 government	 never	 promised	 that	 he	 would	 not	 be	
                      prosecuted.	To	the	contrary,	it	was	always	the	Governments'	expectation	that	Gentile	would	face	criminal	
                      charges,	and	that	fact	was	clearly	conveyed	to	Gentile's	experienced	criminal	defense	counsel,...	
                      …	
                      ...Here,	the	USAO	was	involved	in	Gentile's	cooperation	from	the	very	beginning,	making	clear	to	him	and	his	
                      counsel	all	along	that	a	non-felony	disposition	was	highly	unlikely.	The	FBI	agents	were	supportive	of	Gentile's	
                      cooperation	and	satisfied	with	the	results,	but	Gentile	always	understood	that	the	decision	whether	to	
                      charge	 him	 with	 a	 felony	 rested	 solely	 with	 the	 USAO...In	 the	 Ford	 Letter,	 counsel	 acknowledges	 that	
                      Gentile	had	cooperated	for	two	years	“despite	the	absence	of	any	assurance	as	to	how	this	matter	might	end	
                      for	him”.	
                     	
             Said	document	cites	the	statements	of	a	letter	of	October	10,	2014	signed	by	the	Gentile's	attorney,	Adam	Ford,	

             and	addressed	to	the	US	Attorney's	Office,	whereby	he	admits	that	no	promise	was	ever	made	to	withdraw	the	

             criminal	charges,	to	wit:	

                        As	you	and	I	discussed	during	our	August	14	meeting	in	Newark,	Gentile	has	been	unwavering	in	
                        his	commitment	to	your	office,	despite	the	absence	of	any	assurance	as	to	how	this	matter	might	
                        end	for	him.	Indeed,	in	late	August	of	this	year,	even	after	two	full	years	of	significant	cooperation,	
                        and	after	you	stated	that	your	office	would	not	make	any	commitment	to	exercise	leniency,	or	
                        indeed	to	do	anything	other	than	proceed	with	the	originally	contemplated	felony	charges,	Gentile	
                        nevertheless	agreed	to	continue	his	cooperation.	Emphasis	in	the	original.	
                        	
             	                                           	




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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 7 of 22
                                                                                                                   Certified Translation MC-2018-91
                                                                                                                                         Page 6 of 21

             15.		      The	search	on	the	system	reflected	that	the	charges	were	dismissed	on	January	30,	2017,	by	an	order	of	

             Judge	José	L.	Linares	because	they	were	time-barred.4		Further,	OCIF	became	aware	of	a	publication	of	March	23,	

             2017,	 months	 after	 the	 charges	 were	 dismissed,	 titled	 “Bro,	 I'm	 Going	 Rogue’:	 The	 Wall	 Street	 Informant	 Who	

             Double	 Crossed	 the	 FBI”,	 published	 by	 Bloomberg	 and	 whose	 author	 is	 Zeke	 Faux,	 who	 interviews	 Gentile	 and	

             among	other	things,	states	that,	

                       When	I	called	Gentile,	it	was	as	though	he'd	been	waiting	for	me.	He	said	he	had	an	amazing	story	
                       to	tell,	promising	that	it	included	celebrities	and	a	government	coverup.	“Remember	the	movie	
                       American	Hustle?	It's	kind	of	like	that,	with	way	more	dirt	and	twists	and	f—ed-up	shit,”	he	said.	
                       	
                       …	
                       	
                       After	the	dot-com	bubble	burst,	U.S.	regulators	began	implementing	rules	to	protect	clueless	
                       investors	from	themselves,	such	as	requiring	that	day	traders	have	at	least	$25,000	to	their	names	
                       and	banning	funding	accounts	with	credit	cards.	With	the	number	of	prospective	clients	declining,	
                       Gentile	decided	to	move	somewhere	with	fewer	regulations.	He	set	up	shop	in	the	Bahamas	in	
                       November	 2011.	 Brokers	 there	 don't	 have	 to	 follow	 day-trading	 rules,	 and	 they	 can	 take	
                       American	customers	as	long	as	they	don't	advertise	for	them.	
                       …	
                       Gentile	was	allowed	to	remain	free	on	$500,000	bail.	He	told	his	friends	he	would	beat	the	case	
                       and	met	up	with	a	rapper	he'd	signed	to	his	old	Miami	reggae	label,	to	make	a	song	about	snitching.	
                       On	the	track,	Gentile	raps	awkwardly	over	a	wobbly	beat	from	a	drum	machine:	“The	feds	don't	
                       know	who	they	got,	bro/	I'm	going	rogue.”	
                       	
[Initials]             …	
                       	
                       A	month	after	the	hearing.	Gentile	was	driving	home	from	the	gym	when	one	of	his	lawyers	called.	
                       The	judge	had	tossed	out	the	charges,	saying	the	statute	of	limitations	had	expired.	Gentile	was	so	
                       relieved	 he	 started	 crying.	 Then	 he	 posted	 a	 Wolf	 of	 Wall	 Street	 meme	 on	 Instagram	 with	 the	
                       caption	“F—YOU	ALL.”	
                       …	
                       Gentile	isn't	ready	to	give	up	the	hustle.	He	says	he	intends	to	sue	the	government	for	damages	
                       and	that	one	day	he'd	like	to	star	in	the	movie	of	his	life.	His	time	undercover,	he	says,	gave	him	
                       the	acting	skills	he	needs.	And	the	storyline	will	be	straight	off	the	posters	on	his	office	walls.	“I'm	
                       going	to	build	a	billion-dollar	company,”	he	says.	“I'm	going	to	get	my	own	private	jet,	I'm	going	to	
                       drive	a	flashy	car.	And	I'm	going	to	make	my	license	plate	F—YOUDQJ.”	Emphasis	ours.	
                       	
             OCIF	did	not	find	subsequent	publications	wherein	Gentile	would	have	denied	the	statements	in	this	publication.	

             	          16.	       On	the	other	hand,	the	government	agency	acting	as	a	regulator	of	the	securities	industry	is	the	

             “U.S.	Securities	and	Exchange	Commission”,	commonly	known	as	the	“SEC”	for	its	initials	in	English.	The	“Financial	

             Industry	Regulatory	Authority,	commonly	known	by	its	initials	in	English,	“FINRA”)	is	an	independent	organism	that	

             regulates	the	securities	industry	operating	in	the	United	States	and	operates	the	“Central	Registration	Depository”	

             (known	 by	 its	 initials	 “CRD”	 and	 also	 “Web	 CRD”),	 an	 online	 central	 storage	 database	

             	                                            	




             4
              	See	opinion	of	Judge	Linares,	dated	January	30,	2017,	in	United	States	of	America	v.	Guy	Gentile,	Civil	Action	No.	16-CR-
             155	(JLL),	235	F.	Supp.	3d	649	(D.N.J.	2017).	
                                                                                                                                       6	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 8 of 22
                                                                                                                          Certified Translation MC-2018-91
                                                                                                                                                Page 7 of 21

             related	 to	 securities	 industry	 registries	 and	 licenses	 of	 the	 United	 States.	 The	 system	 contains	 the	 records	 of	

             stockbrokers	and	provides	public	access	to	their	score	histories,	employment	and	matter	subject	to	disclosure	more	

             than	629,000	active	persons.	

             	           17.	        Because	according	to	the	application,	Mister	Gentile	has	held	several	licenses	as	securities	

             industry	professional,	such	as,	Series	7,	24,	4,	55,	63,	56,	and	14,	OCIF	made	a	search	on	the	CRD.	OCIF	learned	that	

             Mister	Gentile	with	CRD	number	3173560,	had	in	his	CRD	a	notation	of	judicial	civil	action5	filed	by	the	SEC	on	

             March	23,	2016	before	the	United	States	District	Court	for	the	District	of	New	Jersey	which,	at	the	moment	of	the	

             Application	and	of	the	Investigation,	was	pending,	and	had	not	been	disclosed	by	Mint	nor	Mister	Gentile	in	the	

             Application.	According	to	the	CRD,	the	SEC	alleged	that	it	had	accused	Gentile	of	perpetrating	stock	manipulation	

             schemes	 in	 violation	 to	 sections	 5(a)	 5(c)	 17(a)	 and	 17(g)	 of	 the	 “Securities	 Act”	 of	 1933,	 Section	 10(b)	 of	 the	

             “Securities	Exchange	Act”	of	1935,	and	Rule	10b-5	of	the	“Exchange	Act”,	in	accordance	to	the	provisions	of	section	

             20(b)	of	the	Securities	Act	of	1933,	15	USC	§77t(b)	and	Section	21(d)1	of	the	Securities	Insurance	Act	of	1934,	15	

             USC	§78u(d)(1).	The	SEC	alleged	that	Gentile,	who,	at	that	time	was	a	stockbroker,	incurred	in	conduct	constituting	

             penny	 stock	 manipulation	 based	 on	 illegal	 kickbacks6	 and	 distribution	 of	 newsletters	 with	 names	 of	 false	

[Initials]   publications	to	promote	the	stocks	of	a	supposed	gold	and	silver	exploration	company	and	a	natural	gas	production	

             company.	 These	 newsletters,	 the	 SEC	 alleged,	 deceived	 potential	 investors	 with	 supposed	 positive,	 but	 false,	

             trends,	 of	 price	 and	 volume	 for	 these	 stocks	 and	 other	 information	 about	 the	 identity	 of	 the	 promoters,	

             compensation	and	control	of	the	stock.	The	SEC	seeks	a	final	ruling	to:	(a)	permanently	restrict	and	order	Mr.	

             Gentile	from	being	involved	in	acts	of,	practices	or	courses	of	business	alleged	herein;	(b)	require	of	Mr.	Gentile	

             the	 return	 of	 his	 unlawful	 profits	 and,	 immediately,	 the	 payment	 of	 pre-judgment	 interest;	 (c)	 impose	 civil	

             monetary	penalties	in	accordance	to	section	20(d)	of	the	Securities	Act	of	1933,	15	USC	§77t(d)	and	Section	21(d)3	

             of	 the	 Securities	 Insurance	 Act	 of	 1934,	 15	 USC	 78u(d)(3);	 and	 (d)	 permanently	 prohibit	 Mr.	 Gentile	 from	

             participating	in	any	penny	stock	offer	in	accordance	to	Section	20(g)	of	the	Securities	Act	of	1933,	15	US	77t(g),	and	

             Section	

             	

             	                                               	



             5
               	Gentile,	S.E.C.	v.	Guy	Gentile,	Civil	Action	No.	16-CV-1619	(JLL)	D.N.J.	2017)	
             6
               	“Kickback”	is	a	colloquial	term	in	English	that	refers	to	a	negotiated	bribe	wherein	the	briber	pays	a	commission	to	a	
             third	person	to	help	him	obtain	a	payment	or	benefit.		An	example	of	this	practice	is	when	a	provider	who	presents	a	
             fraudulent	or	inflated	invoice	to	a	company	colludes	with	an	employee	of	the	company	to	secure	the	payment.		For	his	
             assistance	in	assuring	the	payment,	the	employee	then	receives	some	type	of	commission	or	favor.		See	Wrage,	Alexandra	
             Addison,	 Bribery	 and	 Extortion:	 Undermining	 Business.	 Governments,	 and	 Security,	 Westport,	 Conn.:	 Praeger	 Security	
             International,	 2007.	 p.	 14.	 Tambien	 Kranacher,	 Mary-Jo;	 Riley,	 Richard;	 and	 Wells,	 Joseph	 T.	 Forensic	 Accounting	 and	
             Fraud	 Examination,	 Hoboken,	 N.J.:	 Wiley,	 2010	 y	 Campos,	 Jose	 Edgardo,	 The	 Many	 Faces	 of	 Corruption:	 Tracking	
             Vulnerabilities	at	the	Sector	Level	Washington,	D.C.:	World	Bank,	2007.	
             	
                                                                                                                                               7	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 9 of 22
                                                                                                                          Certified Translation MC-2018-91
                                                                                                                                                Page 8 of 21

             	21(d)(6)	of	the	Securities	Insurance	Act	of	1934,	15	USC	78u(d)(6).	Our	emphasis.	As	we	indicated,	that	information	

             was	not	provided	in	the	Application.	

             	           18.		          At	the	time	of	the	Application	before	OCIF,	on	May	19,	2017,	Mint	knew	of	this	civil	suit,	it	

             knew	that	it	was	active	and	pending	judicial	resolution,	and	did	not	inform	it	as	part	of	item	5,	B,	2,	nor	part	of	item	

             5,	B,	4	of	the	Statement	of	Personal	History,	despite	being	related	to	one	of	the	activities	that	Mint	intends	to	

             perform.	 Mint	 did	 not	 include	 information	 regarding	 it	 in	 the	 Application,	 Mister	 Gentile	 did	 not	 include	

             information	about	it	in	his	Statement	of	Personal	History,	for	which	OCIF,	had	to	request	Mint	to	submit	in	detail	

             the	cases	pending	against	Mister	Gentile.	

             	           19.	           On	June	13,	2017,	the	law	firm	with	headquarters	in	New	York,	Ford	O’Brien,	L.L.P.,	by	letter	

             attached	to	an	email,	informed	OCIF	that	in	case	16	Civ.	1619,	SEC	v.	Guy	Gentile,	Mr.	Gentile	had	raised	the	defense	

             of	statute	of	limitations	and	understood	that	they	could	prevail	in	the	case.	The	case	was	pending	adjudication.	

             	           20.	           In	accordance	to	that,	in	its	duty	of	investigating,	on	June	20,	2017,	OCIF	sent	a	letter	to	the	

             SEC	 to	 provide	 us	 information	 regarding	 the	 civil	 case	 mentioned	 above.	 Afterwards,	 the	 SEC	 attorney,	 Nancy	

             Brown,	informed	us	that	the	SEC	stood	by	the	action	against	Gentile,	16	Civ.	1619,	SEC	v.	Guy	Gentil,	was	proper	

[Initials]   and	was	not	time-barred.	

             	           21.	           It	 appears	 from	 the	 investigation,	 that	 not	 only	 was	 Mr.	 Gentile	 criminally	 accused	 and	

             released	 from	 alleged	 fraudulent	 acts	 in	 the	 securities	 industries,	 as	 Mint	 very	 well	 informed	 OCIF,	 rather	 that	

             further,	 he	 was	 sued	 in	civil	 action	 by	 the	 same	 regulatory	 agency	 of	 the	 securities	 industries,	 the	 SEC,	 for	 the	

             scheme	of	2007,	and	neither	Mint	nor	Gentile	disclosed	this	last	information	to	OCIF,	regardless	of	the	results	that	

             the	 civil	 case	 would	 have.	 Just	 the	 opposite,	 Mister	 Gentile	 swore	 in	 the	 Application	 and	 in	 the	 Statement	 of	

             Personal	History,	which	are	official	documents	of	the	Government	of	Puerto	Rico,	that	the	information	provided	in	

             the	 documents	 was	 complete,	 true	 and	 accurate.	 Afterwards,	 on	 October	 6,	 2017,	 the	 SEC	 filed	 an	 amended	

             complaint	whereby	it	requested	a	mandate	to	prohibit	future	violations	and	Gentile’s	prohibition	of	participating	

             of	penny	stock.	Said	information	was	not	disclosed	by	Mint	nor	Gentile	to	OCIF.	In	the	amended	complaint,	at	page	

             22,	it	is	alleged	that:	

                         83.	 At	 the	 same	 time,	 Gentile	 has	 demonstrated	 contempt	 for	 securities	 regulators	 and	 the	
                         importance	of	enforcement	of	the	securities	laws.	For	example,	when	Gentile	learned	that	the	
                         Commission	 planned	 to	 pursue	 its	 action	 against	 him,	 Gentile	 wrote	 to	 the	 Commission	 staff,	
                         threatening	that	if	the	Commission	pressed	its	claims	against	him,	he	would	make	sure	that	the	
                         staff	would	not	be	able	to	practice	law	again.	
                         	
             	           22.		          After	reviewing	the	documents	and	information	provided,	voluntarily,	as	well	as	requested,	

             OCIF	    was	       not	   satisfied,	   Mint	   and	    Mister	   Gentile	    omitted	     crucial	   information	      to	   our	

             	


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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 10 of 22
                                                                                                                 Certified Translation MC-2018-91
                                                                                                                                       Page 9 of 21

             	investigation	in	official	documents	of	the	Government	of	Puerto	Rico.	Therefore,	in	light	of	Gentile's	reputation	

             and	 the	 omission	 of	 information,	 OCIF	 determined	 that	 neither	 Mint	 nor	 Mister	 Gentile	 had	 the	 commercial	

             integrity	required	by	OCIF	to	operate	a	project	of	this	magnitude	and	importance	that	the	proposal	has	for	the	

             economy	of	Puerto	Rico.	

             	          23.	        Thereafter,	and	after	completing	the	investigation	and	making	the	corresponding	analysis,	on	

             December	12,	2017,	an	informal	meeting	was	held	at	OCIF	with	Mint	legal	representatives	in	Puerto	Rico,	to	assess	

             the	action	to	follow	and	to	give	Mint	the	opportunity	of	withdrawing	their	application.	

             	          24.	        As	a	result	of	said	meeting,	on	December	28,	2017,	Mint,	represented	by	the	law	firm	Adsuar,	

             Muñiz,	Goyco,	Seda	&	Pérez	Ochoa,	P.S.C.,	sent	to	OCIF	a	written	communication	reiterating	its	Application	and	

             attaching	additional	documentation	and,	including	evidence	of	Gentile	as	a	fireman,	policeman,	the	tax	exemption	

             granted	under	Act	22-2012	by	the	Government	of	Puerto	Rico	and	the	order	of	Judge	José	L.	Linares	dismissing	

             criminal	case	number	16-cr-155	of	January	30,	2017,	as	well	as	the	Opinion	issued	on	December	13,	2017	by	Judge	

             José	L.	Linares,	dismissing	civil	case	number	16	Civ.	1619,	SEC	v.	Guy	Gentile.	On	February	2,	2018,	the	SEC	filed	a	

             notice	of	appeal.	This	was	not	notified	by	Mint	to	OCIF	either.	

[Initials]   	          25.		       On	February	16,	2018,	OCIF	sent	a	letter	to	Mint,	through	its	legal	representative	wherein	it	

             denied	the	permit	requested,	in	accordance	to	the	facts	set	forth	therein	performed	by	Mister	Gentile	as	well	as	

             the	omission	of	relevant	information	in	the	official	government	documents.	In	said	letter,	it	was	advised	that	they	

             were	entitled	to	us	to	request	an	administrative	hearing	within	the	term	of	twenty	(20)	days,	as	established	in	

             Article	3,	paragraph	5	of	Act	No.	273-212.	

             	          26.		       Mint	did	not	exercise	its	right	to	request	administrative	hearing	and	on	March	8,	2018	filed	a	

             document	titled	Petition	for	Reconsideration.	Mint	did	not	mention	in	its	reconsideration	the	appeal	of	the	SEC	in	

             the	 civil	 case	 even	 knowing	 the	 importance	 of	 keeping	 OCIF	 informed	 of	 matters	 that	 were	 relevant	 to	 its	

             application.	In	its	Petition,	Mint’s	main	arguments	are	the	following:		

                        A.      OCIF	ACTED	ARBITRARILY	AND	CAPRICIOUSLY	BY	DENYING	THE	APPLICATION	BASED	ON	
                                THAT	MISTER	GENTILE	WAS	ACCUSED	ONCE,	EVEN	THOUGH	SAID	ACCUSATIONS	WERE	
                                DISMISSED,	GENTILE	MET	THE	NECESSARY	INTEGRITY	TO	BE	GRANTED	THE	PERMIT	TO	
                                ORGANIZE	AN	INTERNATIONAL	FINANCIAL	ENTITY,	BECAUSE	THERE	IS	NO	CONVICTION	
                                AGAINST	HIM	AND	SO	DENYING	IT	WOULD	BE	VIOLATING	HIS	DUE	PROCESS	OF	LAW.		
                        	
                        B.      THERE	 ARE	 NO	 INSTRUCTIONS	 IN	 THE	 APPLICATION	 TO	 SUBMIT	 INFORMATION	
                                RELATED	TO	CIVIL	CASES.		
                        	
                        C.      MINT	DOES	NOT	HAVE	THE	CONTINUOUS	DUTY	TO	INFORM	BECAUSE	IT	IS	NOT	YET	A	
                                HOLDER	OF	THE	PERMIT	AS	SET	FORTH	BY	ARTICLE	6	OF	REGULATION	5653.	
                        	
                        D.      OCIF	 DOES	 NOT	 HAVE	 THE	 POWER	 TO	 REQUEST	 ADDITIONAL	 DOCUMENTS	 NOT	
                                DESCRIBED	IN	THE	REGULATION,	AND	IF	IT	DOES	SO,	IT	WOULD	BE	ULTRA	VIRES	
             	                                         	



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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 11 of 22
                                                                                                                            Certified Translation MC-2018-91
                                                                                                                                                 Page 10 of 21

             	
                         E.      OCIF	DOES	NOT	HAVE	A	SPECIAL	POWER	UNDER	ARTICLE	3	OF	ACT	273-212	TO	GRANT	
                                 PERMITS		
             	
                         F.   OCIF	DOES	NOT	HAVE	AN	“OBJECTIVE	TEST”	TO	DETERMINE	WHETHER	AN	APPLICANT	
                              HAS	THE	NECESSARY	INTEGRITY	TO	HAVE	A	PERMIT	TO	ORGANIZE	AN	INTERNATIONAL	
                              FINANCIAL	ENTITY.	
                              	
             	           27.	      In	turn,	at	page	8	of	its	Petition	for	Reconsideration	as	part	of	the	footnote	number	6,	Mint	

             indicates	that:		


                         Here,	having	based	its	denial	of	Mint's	Application	upon	a	finding	that	Mr.	Gentile	lacks	good	
                         character	 and	 business	 integrity,	 the	 government	 has	 seriously	 damaged	 his	 standing	 in	 the	
                         professional	community.	Establishing	an	International	Financial	Entity	is	an	advancement	in	Mr.	
                         Gentile's	chosen	profession	precisely	because	it	denotes	a	particular	status.	Without	this	approval	
                         from	 OCIF,	 Mr.	 Gentile	 is	 limited	 in	 his	 ability	 to	 advance	 professionally.	 The	 discovery	 that	 his	
                         application	 was	 denied	 may	 well	 cost	 him	 continued	 employment	 in	 this	 field	 altogether.	 The	
                         government's	action	--	and	the	reasons	for	its	action	--	create	a	(groundless)	presumption	that	Mr.	
                         Gentile	is	professionally	unfit,	and	this	brand	he	must	bear	with	him	always	unless	OCIF	rectifies	
                         its	error.	
             	           28.		       On	 March	 21,	 2018,	 OCIF	 notified	 a	 Partial	 resolution	 whereby	 it	 accepted	 the	 request	 for	

             reconsideration	presented	for	final	resolution.	

             	           29.	        	As	part	of	the	process	to	consider	the	reconsideration,	OCIF	learned	of	the	Opening	Brief	for	

[Initials]   the	Securities	Exchange	Commission	filed	on	May	15,	2018	before	the	Court	of	Appeals	of	the	Third	Circuit	in	the	

             case	Securities	and	Exchange	Commission	v.	Guy	Gentile,	No.	18-1242.		The	SEC	alleges	that	if	Mister	Gentile	is	not	

             prohibited	from	participating	in	other	“penny	stock”	offers	and	is	prohibited	from	committing	future	violations	of	

             securities	laws,	with	all	probability,	Gentile	could	incur	in	future	violations	of	said	laws.	At	the	time	this	Resolution	

             is	issued,	said	case	is	still	pending	being	decided.	

             	           After	considering	the	administrative	record,	the	totality	of	the	evidence	presented	by	OCIF	investigators	

             as	 well	 as	 by	 the	 applicant,	 evaluating	 each	 one	 of	 the	 documents	 and	 arguments	 appearing	 from	 the	 Letter	

             denying	the	permit	to	organize	an	international	financial	entity	as	well	as	the	Petition	for	reconsideration	filed	by	

             Mint,	 and	 carefully	 analyzing	 the	 provisions	 of	 law,	 for	 the	 grounds	 we	 set	 forth	 below,	 the	 Petition	 for	

             Reconsideration	is	Denied.	

             IIII.	      CONCLUSIONS	OF	LAW	

             	           Act	No.	4	of	October	11,	1985	(Act	No.	4)	creates	the	Office	of	the	Commissioner	of	Financial	Institutions,	and	

             prescribes	 that	 the	 Commissioner	 shall	 have	 “…	 The	 main	 responsibility	 of	 monitoring	 and	 overseeing	 the	 financial	

             institutions	that	operate	or	do	business	in	the	Commonwealth	of	Puerto	Rico…”	7	L.P.R.A.	§2003.	Likewise,	Act	No.	4	

             stipulates	the	powers	that	the	Commissioner	shall	have,	among	these:	(1)	regulating	its	own	procedures	and	work	rules	

             (2)	 instrumenting	 by	 regulation	 any	 provision,	 defining	 with	 the	 approval	 of	 the	 Board	 any	 term	 not	 defined	 by	 this	

             	                                                	



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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 12 of 22
                                                                                                                        Certified Translation MC-2018-91
                                                                                                                                             Page 11 of 21

             law	or	other	laws	that	of	which	is	its	responsibility	to	administrate,	adopt,	approve,	amend,	or	revoke	such	rules	

             and	regulations,	orders,	resolutions,	and	findings	necessary	for	compliance	of	this	law.	7	L.P.R.A.	sec.	2010.	

             	            In	accordance	with	Act	No.	4,	OCIF	administers	Act	273-2012,	special	law	that	was	created	to	regulate	

             the	organization	and	operation	of	international	financial	entities	in	Puerto	Rico	authorized	by	the	Office	of	the	

             Commissioner	of	Financial	Institutions.		

             	            Article	3	of	Act	273-to	127	establishes	the	authority	and	duties	of	the	Commissioner	in	the	authorization	

             that	is	granted	to	operate	said	entities.	Among	them,	OCIF	reviews	and	carries	out	investigations	with	regards	to	

             all	 applications	 for	 permits	 and	 licenses	 to	 operate	 international	 financial	 entities	 (paragraph	 4,	 Article	 3)	 and	

             approving,	granting	conditioned	approval,	or	denying	permit	applications	and	licenses	to	operate	them	(paragraph	

             5,	Article	3).		Said	Article	3	establishes	the	following:		

                 §3082.	Authority	and	duties	of	the	Commissioner	
                 	
                       (a)	The	Commissioner	shall:	
                            	
                            (1)…	
                            	
                            …	
                            (5)	 Approve,	 grant	 conditioned	 approval	 or	 deny	 permit	 applications	 and	 licenses	 to	 operate	
[Initials]                  international	 financial	 entities;	 any	 person	 whose	 application	 has	 been	 denied	 or	 conditionally	
                            approved	 may	 request	 a	 hearing	 pursuant	 to	 the	 regulation	 provided	 in	 §3099	 of	 this	 title.	
                            (Emphasis	added)		
                                   	
             On	the	other	hand,	Article	7	of	Act	273-20128	reads:		
                       	
                       §3086.	Permit	Application	
                                   	
                            (a)	Any	person	who	is	not	an	individual,	may	apply	to	the	Commissioner	for	a	permit	to	organize	an	
                            international	financial	entity…	
                            	
                            (b)	Every	application	shall	include:	
                            …	
                                   (5)	The	identity	and	background	record	of	all	proposed	directors	and	officials	or	persons	who	
                                   intend	to	act	in	a	similar	function	as	an	international	financial	entity.	
                                   	
                                   (6)	Such	additional	information	that	is	required	by	the	Regulations	of	the	Commissioner	
                                   	
                            (c)	 Upon	 receipt	 of	 a	 sworn	 application,	 of	 all	 the	 required	 documents	 and	 the	 charge	 per	
                            application,	the	Commissioner	shall	perform	all	necessary	investigations	of	the	applicants	and	the	
                            application,	including	a	review	of:	
             	
                                   (1)	Financial	solvency,	credit,	banking	experience	and	commercial	integrity	of	the	applicants,	
                                   of	 their	 directors	 and	 officers	 or	 persons	 who	 intend	 to	 act	 in	 a	 similar	 function	 in	 the	
                                   proposed	international	financial	entity;	
                                   	
                                   (2)	 The	 suitability	 of	 the	 capital	 available	 for	 the	 operations	 of	 the	 proposed	 international	
                                   financial	entity;	
                                   	
                                   (3)	 The	 suitability	 of	 the	 articles	 of	 incorporation,	 partnership	 agreement	 or	 other	 written	
                                   document	belonging	to	any	applicant	and,	when	appropriate,	of	the	articles	of	incorporation,	
                                   partnership	 agreement	 or	 other	 written	 document	 establishing	 the	 proposed	 international	

             7
                 7	L.P.R.A.	§3082
             8
                 7	L.P.R.A.	§3086
                                                                                                                                           11	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 13 of 22
                                                                                                                     Certified Translation MC-2018-91
                                                                                                                                          Page 12 of 21

                                  financial	entity;	and	
                                  	
                                  (4)	 The	 impact	 of	 the	 proposed	 international	 financial	 entity	 will	 have	 in	 the	 economy	 of	
                                  Puerto	Rico.	
                                              	
                          …	
                          	
                          (e)	If	the	Commissioner	determines	that	the	result	of	his	investigation	is	favorable,	at	his	exclusive	
                          and	 entire	 discretion,	 a	 permit	 may	 be	 issued	 to	 the	 applicants	 to	 organize	 an	 international	
                          financial	entity,	subject	to	such	conditions	at	the	Commissioner	establishes.	(Emphasis	added.)		
                                  	
             	         According	to	the	dictionary	of	the	Spanish	Royal	Academy,	integrity	refers	to	the	quality	of	being	morally	

             upright	and	the	definition	of	upright	righteous,	proven,	spotless.	Therefore,	commercial	integrity	entails,	among	

             other	things,	honesty	in	businesses,	without	faults.	

             	         In	turn,	Article	6	of	Regulation	5653	provides	in	its	pertinent	part:	

                             1.…		
                             	
                             2.	Investigation		
                             	
                             The	Commissioner	shall	investigate	the	data	and	information	contained	in	the	application	
                             and	all	such	additional	information	he	deems	relevant	such	as:	the	financial	capacity	and	
                             experience	of	the	applicant	entity,	as	well	as	the	character,	integrity	and	experience	or	
                             knowledge	 in	 banking	 or	 businesses	 at	 an	 international	 level	 of	 the	 persons	 who	 will	
                             direct	it.	In	every	application,	the	Commissioner	shall	investigate	every	natural	person	or	
[Initials]                   legal	entity	who	directly	or	indirectly	holds,	controls,	or	intends	to	hold	or	control	ten	per	
                             cent	 (10%)	 or	 more	 of	 the	 interest	 in	 the	 capital	 of	 the	 IBE	 [sic]	 without	 this	 being	
                             understood	as	a	limitation	to	the	investigative	power	of	the	Commissioner.	
                             	
                             3…	
                             	
                             4.	Granting	or	Denial	of	the	Permit	
                             	
                             After	the	required	investigation	and	the	payment	of	investigation	expenses,	as	established	
                             in	above	paragraph	(3),	the	Commissioner,	at	his	entire	discretion,	shall	approve	or	deny	
                             the	permit	to	organize	an	IBE	[sic].	If	the	permit	is	granted,	it	shall	describe	the	activities	
                             of	which	the	proposed	IBE	[sic] may	be	engaged	in,	once	the	license	is	granted	and	shall	
                             include	such	conditions	that	the	Commissioner	deems	necessary.	The	permit	granted	may	
                             not	be	sold,	transferred,	assigned,	encumbered	or	in	any	way	committed	in	favor	of	another	
                             person.	The	granting	of	the	permit	in	accordance	to	this	Article	shall	not	give	right	to	initiate	
                             operations	until	applicant	obtains	a	license	in	accordance	to	Article	7	of	this	Regulation.	
                             	
                             5.…	
                             	
                             6.	Continuous	Obligation	to	Inform	
                             	
                             The	 holder	 of	 the	 permit	 shall	 have	 the	 continuous	 obligation	 of	 informing	 the	
                             Commissioner	 of	 any	 material	 change	 in	 information	 submitted	 with	 the	 permit	
                             application.	Not	notifying	any	material	change	shall	be	just	cause	for	the	revocation	of	the	
                             permit.…	(Our	emphasis)	
                       	
             IV.	      ANALYSIS	OF	THE	FACTS	AND	THE	LAW		

             The	applicant	alleges	in	his	Petition	for	Reconsideration	that:	

             	                                            	




                                                                                                                                      12	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 14 of 22
                                                                                                                 Certified Translation MC-2018-91
                                                                                                                                      Page 13 of 21

                           A		    OCIF	ACTED	ARBITRARILY	AND	CAPRICIOUSLY	BY	DENYING	THE	APPLICATION	BASED	ON	
                                  THAT	 MISTER	 GENTILE	 WAS	 ACCUSED	 ONCE	 ALTHOUGH	 SAID	 ACCUSATIONS	 WERE	
                                  DISMISSED.	MISTER	GENTILE	MEETS	THE	NECESSARY	INTEGRITY	TO	GRANT	THE	PERMIT	
                                  TO	ORGANIZE	AN	INTERNATIONAL	FINANCIAL	ENTITY,	BECAUSE	NO	CONVICTION	EXISTS	
                                  AGAINST	HIM	AND	IN	SO	DENYING	IT,	HIS	DUE	PROCESS	WOULD	BE	VIOLATED.	
                                             	
             	            In	first	place,	it	does	not	appear	from	the	denial	letter	that	OCIF	concluded	that	Gentile	had	incurred	in	

             conduct	prohibited	by	law.	However,	OCIF	exercised	its	discretion	and	investigated	Mr.	Gentile’s	reputation	and	

             commercial	 integrity	 according	 to	 the	 information	 submitted	 by	 Mint	 and	 Mister	 Gentile,	 themselves,	 in	 the	

             application.	In	accordance	to	that,	we	determined	that	in	the	joint	analysis	of	the	totality	of	the	circumstances	

             present	in	this	case,	it	is	not	proper	to	grant	a	permit	to	organize	an	international	financial	entity	for	the	following	

             reasons:		

                              1. Mint	omitted	information	regarding	the	civil	action	of	the	SEC	filed	against	Gentile:	
                              2. Mint	will	be	engaged,	among	other	things,	to	the	securities	industry,	whose	only	member	has	
                              a	character	and	reputation	at	present	questioned	by	other	agencies	related	to	the	securities	and	
                              financial	industry,	such	as	the	SEC	which	inures	in	that	he	does	not	have	the	commercial	integrity	
                              to	carry	out	the	business;		
                              3. Mister	 Gentile	 alleges	 that	 he	 reached	 an	 agreement	 with	 the	 Government	 but	 the	
                              government	contradicts	him		
                              4. Although	Mister	Gentile	cooperated	with	the	Government,	his	actions	resulted	in	a	Grand	Jury	
                              filing	criminal	charges	against	him	again;		
                              5. after	the	criminal	charges	were	dismissed,	Mister	Gentile	participated	in	an	interview	wherein	
[Initials]                    he	made	statements	that	undermined	his	alleged	good	reputation,	as	submitted	in	the	evidence	
                              presented	 regarding	 the	 Firefighter	 Corps	 and	 the	 Police,	 because	 he	 has	 expressed	 himself	
                              disrespectfully	and	using	lewd	language;		
                              6. as	a	result	of	the	interview	performed	by	the	Bloomberg	newspaper	reporter,	Mister	Gentile	
                              allowed,	as	part	of	the	news,	the	reporter	indicating	that	in	the	Bahamas,	they	need	not	follow	
                              daily	rules	of	securities	exchange,	and	Gentile	did	not	clarify	that	those	were	not	his	statements	or	
                              insinuations;		
                              7. Mister	Gentile	omitted	information	fundamental	and	relevant	to	the	Government	of	Puerto	
                              Rico	and	OCIF	does	not	trust	that	Mint	will	act	with	the	transparency	that	OCIF	expects	from	its	
                              regulatees.	
                                     	
             	            These	facts	inure	and	OCIF’s	belief	that	Mint	and	Mister	Gentile	may	have	the	commercial	integrity	and	

             capacity,	honesty,	and	righteousness	to	adequately	comply	with	OCIF	requirements	and	legal	provisions	regulating	

             the	operations	of	an	international	financial	entity.		

             	            OCIF	 acknowledges	 that	 the	 causes	 of	 criminal	 action	 were	 dismissed	 because	 of	 the	 statute	 of	

             limitations,	but	what	OCIF	is	not	satisfied	with	is	with	Mister	Gentile’s	reputation	and	integrity	not	only	for	having	

             omitted	information	under	oath	in	the	Application,	rather	also	because	his	reputation	is	tainted.	Despite	having	

             prevailed	from	the	criminal	charges,	Gentile	shows	not	having	professional	capacity	or	character	by	stating	that	he	

             is	now	“rogue”,	which	is	defined	in	English	as	“dishonest,	no	longer	obedient”,	and	by	making	statements	that	

             undermine	his	professionalism,	such	as:		

                      -"Remember	the	movie	American	Hustle?	It's	kind	of	like	that,	with	way	more	dirt	and	twists	and	
                      f—ed-up	shit".	
                      -"The	feds	don't	know	who	they	got,	bro/	I'm	going	rogue."	See	Bloomberg	Interview.	
                      -Then	he	posted	a	Wolf	of	Wall	Street	meme	on	Instagram	with	the	caption	"F—	YOU	ALL."	See	
                      Bloomberg	Interview.	
                                                                                                                                  13	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 15 of 22
                                                                                                                       Certified Translation MC-2018-91
                                                                                                                                            Page 14 of 21

                        -"I'm	going	to	get	my	own	private	jet,	I'm	going	to	drive	a	flashy	car.	And	I'm	going	to	make	my	license	
                        plate	F—YOUDOJ."	See	Bloomberg	Interview.	
                        -He	says	he	intends	to	sue	the	government	for	damages.	See	Bloomberg	Interview.	
                        -Gentile	 wrote	 to	 the	 Commission	 staff,	 threatening	 that	 if	 the	 Commission	 pressed	 its	 claims	
                        against	him,	he	would	make	sure	that	the	staff	would	not	be	able	to	practice	law	again.	See	Amended	
                        Complaint	of	the	SEC.	
                        	
             	              Since	Mint	did	not	request	the	holding	of	an	administrative	hearing	to	present	evidence	in	his	favor	and	

             to	 clarify	 the	 facts	 that	 provoke	 doubt	 on	 OCIF	 regarding	 the	 convenience	 of	 granting	 the	 permit	 to	 operate	 a	

             business	that	will	carry	out	tasks	related	to	the	securities	market	and	management	of	customer	accounts,	as	was	

             advised,	OCIF	based	itself	then	in	the	administrative	record.	Therefore,	OCIF	has	not	violated	due	process	of	law.	

             On	the	contrary,	as	a	result	of	having	performed	all	due	process	of	law	is	that	OCIF	is	in	a	position	of	denying	the	

             permit.	

             	              OCIF	established	that	its	grounds	to	deny	the	Permit	Application	to	Organize	an	International	Financial	

             Entity	was	its	duty	to	investigate	and	its	discretion	to	be	satisfied	with	the	information	obtained.	OCIF	was	not	

             satisfied.	On	the	contrary,	from	the	record	and	from	the	investigation,	it	appears	that	Gentile	had	been	arrested,	

             as	he	confessed,	he	participated	in	several	schemes,	as	he	confessed,	and	after	his	cooperation	in	March	2016,	
[Initials]
             criminal	charges	were	filed.	Further,	Mint	failed	in	satisfying	to	the	Commissioner	by	omitting	information	in	the	

             Application	as	well	as	in	the	Statement,	both	sworn	as	complete	and	correct	of	a	civil	case	that	Mister	Gentile	had	

             pending	regarding	the	criminal	case	that	was	dismissed	and	which	facts	are	closely	related	to	the	securities	industry	

             which	Mint	has	as	one	of	its	objectives	to	engage	in.	In	said	case,	which	is	on	appeal,	the	SEC	insists	that	Gentile	

             must	remain	outside	of	the	security	industries	as	protection	to	the	public.	Therefore,	he	does	not	qualify	for	the	

             international	 banking	 license	 [sic].	 We	 must	 not	 forget	 that	 in	 his	 application	 one	 of	 the	 businesses	 which	 the	

             international	financial	entity	intends	to	engage	in	is	“…	(iv)	Underwrite,	distribute	and	otherwise	deal	in	securities,	

             notes,	instruments	of	debts,	drafts	and	letters	of	change	issued	by	a	foreign	person	for	the	final	purchase	outside	

             of	Puerto	Rico;…	(vi)	Buy	and	sell	securities	outside	of	Puerto	Rico,	or	to	the	order	of,	or	at	his	discretion,	for	foreign	

             persons	 and	 to	 provide	 investment	 advice	 with	 regards	 to	 said	 transactions	 or	 separately	 to	 the	 same,	 of	 said	

             persons”.	Therefore,	it	was	fundamental	for	OCIF	to	be	aware	of	any	civil	cause	of	action	in	which	Mister	Gentile's	

             appearance,	just	as	the	Statement	indicates,	especially	when	they	were	related	to	one	of	the	business	for	which	

             the	permission	to	organize	is	requested.	The	facts	that	appear	from	the	record	and	the	lack	of	transparency	do	not	

             allow	OCIF	to	trust	that	the	applicant	will	maintain	whole	its	commercial	project	for	which	it	applies	for	the	permit,	

             which	includes	the	handling	of	securities	accounts	of	its	clients.	

             	                                              	




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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 16 of 22
                                                                                                                Certified Translation MC-2018-91
                                                                                                                                     Page 15 of 21

                            B.		 THERE	ARE	NO	INSTRUCTIONS	IN	THE	APPLICATION	TO	SUBMIT	INFORMATION	RELATED	TO	
                            CIVIL	CASES.		
                            	
             	          As	grounds	to	omit	the	information	regarding	the	Complaint	of	the	SEC,	the	applicant	alleges	that	the	

             Application	or	Statement	do	not	require	informing	about	civil	cases.	The	Statement	is	clear	when	establishing	in	

             item	5,	B,	2	and	4	that:	

                      2.	 Have	 you	 ever	 been	 arrested,	 detained,	 accused,	 convicted	 of	 any	 crime	 or	 summoned	 to	
                      appear	for	any	fraudulent	act	to	be	liable	for	any	offense	or	violation	of	any	nature.	
                      __X_		Yes	 	            ____	No	
                      …	
                      4.	Has	any	competent	court	or	government	entity	in	any	country	prohibited	you,	permanently	or	
                      temporarily,	from	participating	or	continuing	any	conduct	or	practice	related	to	any	business.	The	
                      answer	to	this	question	was	negative.	
                      ____		Yes	 	            ____	No	
             	
             	          Not	only	did	Mister	Gentile	have	a	civil	action	pending	for	which	he	had	been	summoned	to	answer	for	

             an	alleged	securities	fraud	through	the	Complaint	filed	by	the	primary	agency	in	securities	regulation	(SEC)	rather	

             that	also,	said	Complaint	requested	aid	of	the	court	to	prohibit	Gentile	from	continuing	to	incur	in	said	conduct,	

             language	clearly	established	in	paragraph	5,	B,	2	and	4	of	the	Statement.	

                             C.	     MINT	DOES	NOT	HAVE	THE	CONTINUOUS	DUTY	TO	INFORM	BECAUSE	IT	IS	NOT	
                                     YET	A	HOLDER	OF	THE	PERMIT	AS	SET	FORTH	BY	ARTICLE	6	OF	REGULATION	5653.	
[Initials]                   	
             	          The	Statement	and	Application	require	that,	if	there	is	any	change,	to	notify	the	Commissioner,	to	wit:	

             “…	If	you	answer	any	question	in	part	B	in	the	affirmative,	add	the	detailed	information	on	a	separate	document	

             and	if	any	event	occurs	that	would	cause	an	affirmative	answer,	immediately	notify	the	Commissioner.”		

                             D.		 OCIF	DOES	NOT	HAVE	THE	FACULTY	OF	REQUESTING	ADDITIONAL	DOCUMENTS	NOT	
                                  DESCRIBED	IN	THE	REGULATION,	AND	IF	IT	DOES	SO,	IT	WOULD	BE	ULTRA	VIRES.	
                                       	
                        Act	273-2012	establishes	sets	forth	in	its	article	7,	7	LP.R.A.	§3086,	that:		

                        §3086.	Permit	Application	
                        (b)	every	application	shall	include:		
                        …	
                                   …	 (6)	 such	 additional	 information	 that	 is	 required	 by	 the	 regulations	 of	 the	
                                   Commissioner.	
                        	
                        Article	6	of	Regulation	5653	sets	forth	that:	
                        	
                                   1…		
                                   2.	Investigation		
                                   The	 Commissioner	 shall	 investigate	 the	 data	 and	 information	 contained	 in	 the	
                                   application	 and	 any	 such	 additional	 information	 he	 deems	 relevant,	 such	 as:	 the	
                                   financial	capacity	and	experience	of	the	entity…	
                        	
             	          Therefore,	 the	 regulation	 does	 not	 make	 an	 exhaustive	 list	 of	 the	 information	 that	 during	 its	

             investigation	it	may	request.		The	OCIF	investigator	found	information	against	Mister	Gentile	closely	related	to	one	

             of	      the	         activities	   regulated	       by	      OCIF	       and	        which	       Mint	       intends	

             	                                          	



                                                                                                                                 15	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 17 of 22
                                                                                                                      Certified Translation MC-2018-91
                                                                                                                                           Page 16 of 21

             to	 engage	 in,	 information	 that	 was	 not	 disclosed	 in	 the	 official	 documents,	 and	 requested	 Mint	 to	 detail	 it.	

             Therefore,	OCIF	did	not	act	in	an	ultra	vires	fashion	when	requesting	additional	information	that	it	deemed	highly	

             relevant	regarding	the	civil	action	omitted	in	the	Application.	

                                E.	OCIF	DOES	NOT	HAVE	DISCRETIONAL	POWER	UNDER	ARTICLES	3	OF	ACT	273-2012,	TO	
                                GRANT	PERMITS.	
                                	
             Act	273-2012	and	the	Regulation	establish	the	discretion	to	grant	permits,	to	wit:	

                                    §3082.	Authorities	and	duties	of	the	Commission	
                                    (a)	The	Commissioner	shall:	 	
                                    (1)…	
                                    …	
                                    •		
                                    (5)	Approve,	grant	conditioned	approval	or	deny	applications	for	permits	and	licenses	
                                    to	 operate	 international	 financial	 entities;	 any	 person	 whose	 application	 has	 been	
                                    denied	 or	 conditionally	 approved	 may	 request	 a	 hearing	 pursuant	 to	 regulation	
                                    provided	in	§3099	of	this	title.	(Emphasis	added.)		
                        	
                        On	the	other	hand,	Article	7	of	Act	273-2012,	7	L.P.R.A.	§3086,	establishes	the	following:	
                        	
                                  §3086	Permit	Application		
                                  …		
                                  (E)	If	the	Commissioner	determines	that	the	result	of	his	investigation	is	favorable,	at	
                                  his	exclusive	and	entire	discretion,	the	permit	to	organize	an	international	financial	
                                  entity	 may	 be	 issued	 to	 the	 applicant,	 subject	 to	 such	 conditions	 that	 the	
[Initials]                        Commissioner	establishes.	(Emphasis	added).	
                                  	
             	          On	the	other	hand,	Article	6	of	Regulation	5653	provides	its	pertinent	part:	
             	
                                 4.	Grant	or	Denial	of	the	Permit		
                                 After	 the	 required	 investigation	 and	 the	 payment	 of	 the	 investigation	 expenses	 as	
                                 established	paragraph	(3),	the	Commissioner,	at	his	entire	discretion,	shall	approve	
                                 or	deny	the	permit	to	organize	an	IBE	[sic].	If	a	permit	is	granted,	it	shall	describe	the	
                                 activities	that	the	proposed	IBE	[sic] may	engage	in	once	the	license	is	granted	and	
                                 shall	 include	 such	 conditions	 that	 the	 Commissioner	 deems	 necessary.	 The	 permit	
                                 granted	may	not	be	sold,	transferred,	assigned,	encumbered	in	any	way	committed	in	
                                 favor	of	another	person.	The	granting	of	a	permit	according	to	this	Article	shall	not	
                                 give	right	to	initiate	operations	until	the	applicant	obtains	a	license	in	accordance	to	
                                 Article	7	of	this	Regulation.	
                                 	
             	          From	the	analysis	of	the	documents	presented	by	the	applicant,	as	well	as	those	appearing	from	the	

             administrative	complaint	brought	forth	by	our	agency,	it	does	not	seem	that	we	acted	arbitrarily	or	unreasonably.	

             Moreover,	without	a	doubt,		in	harmony	with	the	applicable	statutes	and	regulations,	OCIF	has	discretion	to	decide	

             whether	or	not	it	was	proper	to	grant	Mint	the	permit	to	organize	and	operate	an	international	financial	entity.	

             Thus,	 and	 in	 attention	 that	 Gentile,	 only	 member	 of	 Mint,	 was	 object	 of	 an	 administrative,	 civil	 and	 criminal	

             investigation	 for	 fraud	 in	 the	 securities	 industry,	 and	 that	 the	 civil	 action	 pending	 adjudication	 that	 was	 not	

             informed	to	OCIF	at	the	moment	the	application	was	filed	inures	over	the	practice	and	operation	of	the	industry	

             for	which	the	permit	is	interested	to	being	requested,	our	determination	does	not	constitute	abuse	of	discretion.	

             	                                             	




                                                                                                                                         16	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 18 of 22
                                                                                                                         Certified Translation MC-2018-91
                                                                                                                                              Page 17 of 21

             	          Therefore,	the	Commissioner	has	broad	discretion	under	Article	3	of	Act	273-2012	to	“approve,	grant	

             conditioned	approval,	or	deny	obligations	of	permits	and	licenses”	and	its	Article	7	reiterates	the	discretion	of	the	

             Commissioner	 when	 “determining	 that	 the	 result	 of	 his	 investigation	 is	 favorable,	 at	 his	 exclusive	 and	 entire	

             discretion,	the	permit	to	organize	may	be	issued	to	the	applicants…”.	If	the	result	is	not	favorable,	it	certainly	may	

             not	issue	the	permit.	

                               F.		 OCIF	 DOES	 NOT	 HAVE	 AN	 “OBJECTIVE	 TEST”	 TO	 DETERMINE	 WHETHER	 AN	
                                     APPLICANT	HAS	THE	NECESSARY	INTEGRITY	TO	HAVE	A	PERMIT	TO	ORGANIZE	AN	
                                     INTERNATIONAL	FINANCIAL	ENTITY.	
                                     	
             	          It	is	by	virtue	of	our	police	power	that	we	regulate	the	establishment	and	operation	of	said	institutions	

             to	 protect	 the	 public	 well-being.	 Act	 273-2012	 has	 granted	 us	 broad	 discretion	 in	 the	 granting	 of	 permits	 and	

             licenses	to	establish	an	international	financial	entity.	

             	          It	is	by	virtue	of	that	power	that	Act	273-2012	allows	us	to	condition	the	right	to	obtain	a	permit	and	

             then	 a	 license	 to	 establish	 an	 international	 financial	 entity.	 	 Further,	 OCIF	 as	 representatives	 of	 the	 State	 may	

             require	 the	 verification	 of	 the	 indispensable	 requirements	 and	 the	 necessary	 moral	 solvency	 of	 the	 applicant	

             corporation,	shareholders,	officers,	directors	and	employees.	Therefore,	this	case	is	about	a	permit	and	a	license	

[Initials]   regulated	by	the	state.	

             	          The	 legislator	 establishes	 the	 general	 rules	 leaving	 a	 broad	 margin	 of	 freedom	 to	 complement	 the	

             legislative	 rules	 through	 the	 application	 of	 our	 experience	 judgment,	 the	 agency	 may	 engage	 in	 an	 area	 of	

             administrative	analysis,	appreciation	and	discretion	as	long	as	its	discretion	has	grounds	of	reasonability.	Secretary	

             of	Agriculture	v.	Central	Roig	Co.,	338	U.	S.	604,	611;	Gravy.	Powell,	314	U.	S.	402,	412;	Board	v.	Hearst	Publications,	

             322	U.	S.	Ill;	Board	of	Governors	v.	Agnew,	329	U.	S.	441;	58	Harv.LRev.	70,	Review	of	Findings	of	Administrators,	

             Judges,	and	Juries:	A	Comparative	Analysis.	The	legislator	has	validly	delegated	on	OCIF’s	“expertise”	the	granting	

             and	denial	of	such	permits	and	licenses	and	we	have	broad	discretionary	powers	to	elucidate	relevant	facts	and	

             factors.	We	acknowledge	that	in	turn,	the	Supreme	Court	of	Puerto	Rico	has	stated	that	in	the	exercise	of	our	

             discretion,	we	may	not	violate	constitutional	rights	of	aspirants.	See	De	Paz	Lisk	v.	Aponte	Roque,	124	D.P.R.	472	

             (1990).	In	light	of	the	above,	“[w]hen	examining	these	rules,	[…]	one	must	oversee	that	they	do	not	arbitrarily	deny	

             admission	to	aspirants	for	reasons	foreign	to	the	purpose	of	the	regulation.	It	is	enough	that	there	is	some	evidence	

             that	they	are	rational	to	sustain	their	validity.”	See	San	Miguel	Lorenzana	v.	E.L.A.,	134	D.P.R.	405	(1993).	

             	          Therefore,	 the	 decisions	 as	 to	 the	 granting	 or	 denial	 of	 licenses	 cannot	 be	 arbitrary,	 capricious,	

             fraudulent	or	deprived	of	reasonable	grounds	on	the	evidence.	See	33	Am.Jur.	379;	McDonough	v.	Goodcell,	13	

             Cal	 2d	 741;	 Riley	 v.	 Chambers,	 181	 Cal	 589;	 Jaffarian	 v.	 Murphy,	 183	 N.E.	 110;	 Hazel	 Park		

             	

             	                                              	
                                                                                                                                            17	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 19 of 22
                                                                                                                       Certified Translation MC-2018-91
                                                                                                                                            Page 18 of 21

             Racing	Ass’n	v.	Inglis,	58	Northwest	second	241;	American	Committee	on	Maternal	Welfare	v.	Mangan,	14	N.Y.S	

             2d	 39,	 affirmed	 in	 27	 N.E.	 2d	 278-9	 Farrand	 v.	 State	 Medical	 Board,	 85	 N.E.	 2d	 113.	 However,	 a	 criterion	 of	

             reasonability	 in	 the	 exercise	 of	 administrative	 discretion	 prevails.	 62	 Harv.L.Rev.	 1058,	 1059.	 Because	 we	 are	

             empowered	 so,	 agencies	 can	 demand	 of	 the	 aspirant	 a	 license	 that	 shows	 having	 the	 requirements	 necessary,	

             among	them,	the	necessary	moral	solvency.	

             	             We	cannot	disregard	either	that	the	securities	industry	that	Gentile	is	engaged	in	is	a	highly	specialized	

             and	regulated	one	that	requires	obtaining	a	license	to	work	as	a	securities	broker,	see	Uniform	Securities	Act,	10	

             L.P.R.A.	§861	et	seq.,	which	is	also	regulated	(in	such	field	that	is	not	preempted	by	federal	laws)	by	OCIF.	Therefore,	

             OCIF	has	a	duty	of	taking	official	knowledge	of	what	FINRA	established	in	Brokercheck	in	1988	(then	known	as	the	

             Public	 Disclosure	 Program)	 with	 the	 objective	 of	 providing	 citizens	 with	 information	 regarding	 professional	

             background,	 commercial	 practices	 and	 conduct	 of	 brokerage	 firms	 that	 are	 members	 of	 FINRA	 and	 associate	

             persons.	 The	 information	 that	 FINRA	 gathers	 for	 the	 public	 through	 Brokercheck	 is	 available	 at	 the	 “Central	

             Registration	Depository”	(“CRD”),	an	online	registry	of	the	securities	industry	and	licenses	database.		All	companies	

             that	are	members	of	FINRA,	their	associated	persons	and	regulators,	we	report	information	to	the	CRD	system	

[Initials]   through	the	uniform	registry	forms.	From	said	registry,	OCIF,	in	its	investigative	power,	found	information	that	had	

             not	 been	 provided	 by	 the	 applicant	 in	 the	 official	 document	 regarding	 a	 civil	 case	 against	 Mister	 Gentile,	 only	

             member	of	Mint,	related	specifically	to	the	securities	industry;	therefore,	OCIF	did	not	arbitrarily	deny	admission	

             to	the	applicant	for	reasons	foreign	to	the	purpose	of	the	regulation.	

             	             OCIF’s	letter	of	February	18	clearly	establishes	that	the	reason	to	deny	was	also	the	absence	of	integrity	

             by	Mint	and	Gentile	in	omitting	information	in	official	documents,	fundamental	for	the	investigation	with	regards	

             to	a	pending	case	that	had	not	yet	been	dismissed	and	that	had	it	not	been	for	OCIF’S	investigative	techniques	and	

             the	resources	that	we	are	provided	as	regulatory	agency,	we	perhaps	never	been	aware.	

             	             The	letter	specifically	indicates	that:		

                           The	facts	mentioned	above	indicate	that	Mister	Gentile	does	not	have	the	required	commercial	
                           integrity	to	organize	and	operate	an	international	banking	entity	under	Act	273.	Further,	Mint	
                           did	not	mention	in	its	application	the	civil	complaint	filed	by	the	SEC	against	Mr.	Gentile	and	it	
                           was	not	until	the	Office	became	aware	of	the	situation	and	requested	more	information	about	
                           the	matter	that	Mint	produced	additional	documents	regarding	the	civil	actions	cited	above.	The	
                           Office	understands	that	this	fact	presents	an	aggravating	factor	to	the	favorability	of	the	results	
                           of	our	investigation,	because	it	violates	the	continuous	obligation	of	informing	that	Regulation	
                           5653	 imposes	 on	 applicants.9	 Therefore,	 the	 current	 state	 of	 the	 law	 allows	 us	 to	 conclude	
                           	
             	                                              	




             9
                 Section	6	of	Article	6	of	Regulation	5653.
                                                                                                                                          18	
             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 20 of 22
                                                                                                                        Certified Translation MC-2018-91
                                                                                                                                             Page 19 of 21

                        	that	 the	 results	 of	 the	 investigation	 of	 the	 application	 are	 not	 favorable	 to	 issue	 the	 permit	
                        requested,	as	required	by	Article	7(e)	of	Act	273,	cited	above.	
                        	
             	          It	appears	from	the	facts	indicated	in	the	Letter	that	the	information	of	the	civil	case	was	not	submitted	

             by	neither	Mr.	Gentile	or	Mint,	OCIF	had	to	learn	about	it	and	request	it;	fact	that,	added	to	the	close	relationship	

             of	the	alleged	schemes	related	precisely	to	one	of	the	businesses	for	which	Mint	requested	the	permit,	undermines	

             Mint’s	reputation,	and	OCIF	is	not	satisfied	to	grant	the	permit	requested.	

             	          We	further	highlight	that	in	the	course	of	our	investigation,	we	became	aware	of	said	information	on	

             our	own	account,	because	Gentile	did	not	completely	disclose	it.	We	understand	that	Mint	and	Gentile	omitted	

             relevant	information	in	their	permit	application,	which	consisted	of	not	disclosing	that	at	the	time	of	its	filing,	there	

             was	a	civil	court	action	pending	in	the	United	States	District	Court	for	the	District	of	New	Jersey	filed	by	the	SEC	

             wherein	they	alleged	that	Mister	Gentile	carried	out	acts	in	violation	of	sections	5(a),	5(c),	17(a)	and	17(b)	of	the	

             “Securities	Act”	of	1933,	Section	10	(b)	of	the	“Securities	Exchange	Act”	of	1934	and	Rule	10b-5	of	the	“Exchange	

             Act”.	 Mister	 Gentile	 omitted	 relevant	 information	 to	 OCIF	 and	 further,	 offered	 false	 statements	 under	 oath,	

             because	the	candidate	knew	that	he	had	a	complaint	against	him,	filed	by	a	regulatory	authority,	for	securities	

             fraud,	closely	related	to	one	of	the	objectives	that	Mint	intends	to	engage	in.	He	did	not	inform	it	until	OCIF	let	him	
[Initials]
             know	 that	 it	 had	 obtained	 the	 information.	 Therefore,	 the	 fact	 of	 having	 provided	 to	 a	 government	 agency	

             incomplete	information	regarding	claims	related	to	the	securities	industry,	despite	having	been	advised	by	OCIF	

             that	 it	 could	 deny	 its	 application	 for	 said	 grounds,	 is	 sufficient	 for	 the	 Commissioner,	 in	 the	 exercise	 of	 his	

             discretion,	to	deny	the	permit	requested.	

             IV.	       FINAL	DETERMINATION		

             	          Having	 evaluated	 the	 arguments	 and	 documents	 presented	 by	 the	 applicant,	 OCIF	 has	 discretion	

             (conferred	by	law)	to	deny	a	permit	taking	in	consideration	not	only	the	criminal	accusations	and	administrative-

             civil	of	the	only	director,	officer	and	official	of	Mint	in	the	federal	sphere,	as	elements	that	inures	in	the	commercial	

             integrity	and	reputation	required	of	applicants	of	permits	and	licenses	to	operate	an	international	financial	entity,	

             rather	also,	taking	in	consideration	the	omission	of	the	information	closely	related	to	the	businesses	they	intend	

             to	carry	out.	We	understand	that	not	complying	with	the	criterion	of	“commercial	integrity”,	as	criterion	of	public	

             interest	that	may	prevail	over	any	other	factor,	but	also,	the	absence	of	integrity	by	omitting	information	from	the	

             OCIF,	preventing	the	granting	of	the	permit	requested.	Further,	Mister	Gentile,	Mint	representative,	swore	in	the	

             Application	and	in	the	Statement	of	Personal	History,	which	are	official	documents	of	the	Government	of	Puerto	

             Rico,	that	the	information	provided	was	complete,	true,	and	accurate,	when	it	certainly	was	not.		For	that	reason,	

             regardless	 of	 the	 results	 in	 favor	 of	 Mister	 Gentile	 in	 the	 criminal	 case	 or	 in	 the	 civil	 case,	 as	 well	 as		

             	


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             Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 21 of 22
                                                                                                                    Certified Translation MC-2018-91
                                                                                                                                         Page 20 of 21

             the	 experience	 and	 the	 alleged	 social	 work	 performed	 by	 the	 mister	 Mint	 [sic],	 OCIF	 cannot	 allow	 persons	 or	

             entities	from	omitting	relevant	information	in	permit	or	license	applications.	

             	          In	accordance	with	the	above,	the	Petition	for	Reconsideration	filed	is	hereby	Denied	and	we	reiterate	

             the	denial	of	the	permit	to	organize	an	international	financial	entity	as	requested	by	Mint.	

                                                                    WARNINGS	

             	          A	party	adversely	affected	by	an	order	or	final	resolution	of	OCIF,	and	once	exhausting	all	administrative	

             reliefs	determined	by	OCIF,	including	the	Final	Resolution	issued	by	an	Administrative	Judge,	may	request	judicial	

             review	in	the	Court	of	Appeals	of	Puerto	Rico,	within	a	term	of	thirty	(30)	days	counted	from	the	notice	of	the	

             determination,	according	to	what	is	provided	in	section	4.2	of	Act	38	of	2017,	known	as	“Uniform	Administrative	

             Procedure	Act	of	Puerto	Rico”.	

             	          Given	in	San	Juan,	Puerto	Rico,	today	June	5,	2018.	

             	          BE	REGISTERED	AND	NOTIFIED.	

             	

                                                                                 	        [Signature]
                                                                                     George	R	Joyner	Kelly	
[Initials]                                                                              Commissioner	
             	

             	

             	

                                                                       NOTICE	

             	

             	          I	 CERTIFY:	 That	 today	 this	 Resolution	 has	 been	 notified	 by	 regular	 mail	 and	 email	 to	 Mint	 Bank	

             international,	L.L.C.	c/o	Ms.	Katarina	Stipec	Rubio	and	Mr.	Miguel	Carbonell,	PO	Box	70294,	San	Juan,	Puerto	Rico	

             00936-8294	and	by	e-mail,	kstipec@amgprlaw.com	and	.mf,	mcarbonnel@amgprlaw.com.	

             	          In	San	Juan,	Puerto	Rico,	today	June	5,	2018.	

             	

                                                                                 	         [Signature]
                                                                                         Gladys	Navarro	
                                                                                             Clerk	
             	

             	




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Case 3:18-cv-01441-JAG Document 1-4 Filed 07/03/18 Page 22 of 22
                                                                                         Certified Translation MC-2018-91
                                                                                                              Page 21 of 21

	

	
	
	
	
	
	
	
	
	
	




      No. 2018-091 TRANSLATOR’S CERTIFICATE OF ACCURACY

                  I, Mayra Cardona Durán, of legal age, single, resident of Guaynabo, Puerto Rico, Certified
      Interpreter of the United States Courts (Certification No. 98-020) and certified member of the
      National Association of Judiciary Interpreters (Member No. 10671) member in good standing of the
      American Translators Association (Member No. 230112), and admitted to the Puerto Rico Bar
      Association (Bar No. 12390) hereby CERTIFY: that according to the best of my knowledge and
      abilities, the foregoing is a true and rendition into English of the original Spanish text, which I have
      translated and it is stamped and sealed as described therein. This document is comprised of Twemty
      One (21) Pages, including this certification page, and does not contain changes or erasures.

                In Guaynabo, Puerto Rico today, Tuesday, June 26, 2018.




                                            Lcda. Mayra Cardona
                                         BA Lit/Fr, MA Trans, JD
                                  United States Courts Certified Interpreter
                                 NAJIT Certified Interpreter and Translator
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